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Umted States Dlstrlct Court §§ 00 >/
WESTERN DISTRICT oF TENNESSEE <3"»

Eastern Division "

 

JUDGMENT IN A CIVIL CASE

CATHY D. CASEY,
v.

J.R. WAUFORD & COMPANY CASE NU|V|_BER; 1105-1043-T/An
CONSULTING ENGINEERS, INC.,

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T |S ORDERED AND ADJUDGED that in compliance With the order entered in

the above-styled matter on 8/17/2005, this case is hereby Vo|untari|y D|S|V|iSSED
Without prejudicel

APPROVED:

©h/W¢D-M

JAM D. TODD
UNI D STATES DISTRICT JUDGE

THOMAS M. GOULD

 

 

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DEPUTY C(L'ERK

This document entered on the docket sheet in compliance

With Ru|e 58 and/or 79(3) FRCP on g 1 §§ § g l 35

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This notice confirms a copy of the document docketed as number 5 in
case 1:05-CV-01043 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

 

Bradley G. Kirk

CARTER STANFILL & KIRK
25 Natchez Trace Dr.
Lexington, TN 38351

Honorable J ames Todd
US DISTRICT COURT

